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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

 721 BOURBON, INC.                                    §     CIVIL ACTION NO. 11-710
                                                      §
 V.                                                   §     JUDGE NANNETTE JOLIVETTE
                                                      §     BROWN
 BEA., INC., BRADLEY S. BOHANNAN,                     §
 STEPHEN J. SMITH, AND ARITA M. L.                    §     MAGISTRATE JUDGE JOSEPH C.
 BOHANNAN                                             §     WILKINSON, JR.




                                        ORDER OF DISMISSAL

           The Court having been advised by counsel for the parties that all of the parties to this action

have firmly agreed upon a compromise,

           IT IS ORDERED that this action be and is hereby dismissed without costs and without

prejudice to the right, upon good cause shown within sixty days, to reopen the action if settlement

is not consummated. The court retains jurisdiction to enforce the compromise agreed upon by the

parties.

           Counsel are reminded that, if witnesses have been subpoenaed, every witness must be

notified by counsel not to appear.

                                            24th day of January, 2012.
           NEW ORLEANS, LOUISIANA, on this ______



                                                  ________________________________________
                                                  NANNETTE JOLIVETTE BROWN
                                                  UNITED STATES DISTRICT JUDGE
